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                     UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF MICHIGAN
                          SOUTHERN DIVISION


 JOSEPHINE GRAHAM, on behalf of
 herself and all others similarly
 situated,                                     Case No. 2:21-cv-11168-VAR-EAS

                    Plaintiff,                 Hon. Victoria A. Roberts
                                               Magistrate Judge Elizabeth A.
                    v.                         Stafford

 THE UNIVERSITY OF MICHIGAN,
 and THE REGENTS OF THE
 UNIVERSITY OF MICHIGAN,

                  Defendants.


               STIPULATED ORDER FOR EXTENSION
           OF PAGE LIMIT FOR PLAINTIFF’S MOTION FOR
          AN AWARD OF ATTORNEYS’ FEES AND EXPENSES
        AND FOR A CLASS REPRESENTATIVE SERVICE AWARD

      Plaintiff Josephine Graham and Defendants the University of Michigan and

the Regents of the University of Michigan, by and through their undersigned

counsel, hereby stipulate and agree to a modification of the page limit set forth under

E.D. Mich. LR 7.1(d)(3)(A). In support, the parties state the following:

      1.     On the present date, concurrent with the filing of this Stipulated Order,

Plaintiff is filing a Motion for an Award of Attorneys’ Fees and Expenses and for a

Class Representative Service Award.




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      2.     The parties have stipulated to extend the page limit for Plaintiff’s

Motion by 5 pages.

      3.     Courts permit parties to exceed page limitations where doing so is

reasonable under the circumstances and without prejudice to either party. See Oliver

v. National Life Ins. Co., 09-11040, 2011 WL 5904651, at *1 fn. 1 (E.D. Mich. Nov.

22, 2011).

      4.     In order to adequately address the background, procedural history, fees

and expenses incurred, and applicable standards for approval of the fee request and

class representative service award, Plaintiff submits that 30 pages for Plaintiff’s

Motion—inclusive of signatures—is reasonable and necessary, and that Defendants

will not be prejudiced. Defendants do not oppose Plaintiff’s request.

      NOW, THEREFORE, based upon the stipulation of the parties:

      IT IS ORDERED that the Plaintiff’s Motion for an Award of Attorneys’ Fees

and Expenses and for a Class Representative Service Award, including signatures

and footnotes, shall not exceed 30 pages.



 Dated: 6/22/2022                           s/ Victoria A. Roberts
                                            Honorable Victoria A. Roberts
                                            United States District Judge




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STIPULATED AND AGREED TO BY:

Dated: May 26, 2022                          Respectfully submitted,


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